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                          IN THE UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF LOUISIANA


  STATE OF MISSOURI, et al.,

            Plaintiffs,                                        No. 22-cv-1213

      v.                                                       Consolidated with No. 23-cv-381

  JOSEPH R. BIDEN, JR., in his official capacity as            Judge Terry A. Doughty
  President of the United States of America, et al.,           Mag. Judge Kayla D. McClusky

            Defendants.


     CONSENT MOTION FOR LEAVE TO FILE BRIEF IN EXCESS OF PAGE LIMIT

           Defendants respectfully request leave, unopposed, to file a brief of up to FORTY (40)

 pages in response to (1) the Order of this Court (Dkt. 389) (“Briefing Order”), which directed

 briefs “on whether further jurisdictional discovery limited to the issue of standing could aid this

 court’s evaluation of its continuing jurisdiction over this case, or alternatively, whether dismissal

 is appropriate,” and (2) Plaintiffs’ brief in response to the Briefing Order (Dkt. 391). Good cause

 supports this motion to exceed the page limit in Local Rule 7.8.

           The Briefing Order is based on the remand from the U.S. Court of Appeals for the Fifth

 Circuit (Dkt. 386), which in turn is based on the remand from the U.S. Supreme Court in Murthy

 v. Missouri, 144 S. Ct. 1972 (2024). Plaintiffs’ brief in response to the Briefing Order presents

 contentions regarding the effect of the Opinion of the U.S. Supreme Court in Missouri, and draws

 upon, inter alia, supplemental declarations from two individual plaintiffs—one from Plaintiff

 Hines containing 25 numbered paragraphs (Dkt. 391-10), and the other from Plaintiff Bhattacharya

 containing 12 numbered paragraphs (Dkt. 391-11).
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        Defendants respectfully submit that a brief of up to 40 pages is necessary to adequately

 address the contentions in Plaintiffs’ brief in response to the Briefing Order, the supplemental

 declarations from the two individual plaintiffs that response draws upon, and the Opinion of the

 U.S. Supreme Court in Missouri.

        Plaintiffs do not oppose this Motion. A proposed order is attached.

 Dated: October 4, 2024               Respectfully submitted,

                                      BRIAN M. BOYNTON
                                      Principal Deputy Assistant Attorney General

                                      JOSHUA E. GARDNER
                                      Special Counsel, Federal Programs Branch

                                      JOSEPH E. BORSON
                                      Assistant Director, Federal Programs Branch

                                      /s/ Indraneel Sur
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                                      Attorneys for Defendants



                               CERTIFICATE OF CONFERENCE

        In accordance with the Local Rules of this Court, counsel for Defendants contacted

 Plaintiffs’ counsel to request consent for the filing and granting of this motion. Plaintiffs’ counsel

 informed counsel for Defendants that Plaintiffs do not oppose this motion.

                                                                /s/ Indraneel Sur
